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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION
 ROOT, INC. et al.,                           )
                                              )
        Plaintiffs,                           )              Judge Sarah D. Morrison
                                              )
                v.                            )              Magistrate Judge Elizabeth Preston Deavers
                                              )
 Brinson Caleb “BC” SILVER, et al.            )              Case No. 2:23-cv-00512
                                              )
        Defendants.                           )
           MOTION OF RECEIVER, JERRY E. PEER, JR., TO SELL
  CERTAIN REAL PROPERTY OF DEFENDANT, ECLIPSE HOME DESIGN, LLC,
 AT PRIVATE SALE, FREE AND CLEAR OF ALL INTERESTS, LIENS, CLAIMS AND
         ENCUMBRANCES AND TO DISTRIBUTE PROCEEDS OF SALE
        Now comes the Court appointed receiver herein, Jerry E. Peer, Jr., (“Receiver”), by and

 through undersigned counsel, and moves the Court for authority to sell the real property owned by

 Eclipse Home Design, LLC located at and commonly known as 9125 North Bayshore Drive,

 Miami Shores, Florida 33138, Parcel No. 11-32-05-001-0590, pursuant to the terms and conditions

 of and as more fully described in the “As Is” Residential Contract For Sale And Purchase attached

 hereto as “Exhibit A” (the “Purchase Agreement”), free and clear of any and all interests, liens,

 claims and encumbrances, as well as any right of redemption, with the interests, liens, claims and

 encumbrances transferred to the proceeds of sale, and to approve the Receiver’s proposed

 distribution of proceeds of sale. Receiver respectfully requests expedited briefing as to this

 motion.

        A Memorandum in Support of this Motion is attached hereto.

                                              Respectfully submitted,

                                              PETERSON CONNERS LLP


                                               /s/ Istvan Gajary                       .
                                              GREGORY S. PETERSON (0061915)



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                                                  JERRY E. PEER, JR. (0075128)
                                                  ISTVAN GAJARY (0089084)
                                                  545 Metro Place South, Suite 435
                                                  Dublin, Ohio 43017
                                                  Telephone: (614) 365-7000
                                                  Facsimile: (614) 220-0197
                                                  E-mail: gpeterson@petersonconners.com
                                                          jpeer@petersonconners.com
                                                          igajary@petersonconners.com
                                                  Counsel for Receiver, Jerry E. Peer, Jr.



                                   MEMORANDUM IN SUPPORT

     I.        INTRODUCTION

          1.     In accordance with the requirements of this Court’s Order, filed May 12, 2023

 [Doc. # 99], Order Appointing Receiver, filed May 17, 2023 [Doc. # 101], and Order Amending

 Order Appointing Receiver, filed June 7, 2023 [Doc. # 120] (hereinafter collectively “Receiver

 Order”), Jerry E. Peer, Jr. (“Receiver”), was appointed as Receiver of all monetary and real

 property assets of Mr. Brinson Caleb Silver, Collateral Damage, LLC and Eclipse Home Design,

 LLC (hereinafter collectively “Defendants”). Since his appointment, Receiver has taken

 possession and control of the real estate of Defendant located at 9125 North Bayshore Drive,

 Miami, Florida 33138; Parcel No. 11-32-05-001-0590 (“Property”). Pursuant to the Receiver’s

 Order, Receiver has further been engaged for the purpose of negotiating and effecting an orderly

 sale of the Property in or outside the ordinary course of business. Receiver Order at p. 9, ¶ 2(k).

 Since taking possession of the Property Receiver has conducted preliminary determinations of

 the value of the Property in its present condition and if renovations were completed. In light of

 the current market conditions and due to a pending foreclosure action, Receiver has determined

 that it is in the best interests of the receivership estate, and its respective creditors, to sell the

 Property at private sale as this will generate the highest net return to the receivership estate.



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    II.        LAW AND ARGUEMENT


          2.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 754, 959 and

 1692, Rule 66 of the Federal Rules of Civil Procedure, this Court’s inherent powers, and Ohio laws

 where applicable.

          3.     In accordance with the requirements of this Court’s Order, filed May 12, 2023

 [Doc. # 99], Order Appointing Receiver, filed May 17, 2023 [Doc. # 101], and Order Amending

 Order Appointing Receiver, filed June 7, 2023 [Doc. # 120] (hereinafter collectively “Receiver

 Order”), Jerry E. Peer, Jr. (“Receiver”), was appointed as Receiver of all monetary and real

 property assets of Mr. Brinson Caleb Silver, Collateral Damage, LLC and Eclipse Home Design,

 LLC (hereinafter collectively “Defendants”).

          4.     Pursuant to the Receiver Order,

                 The Receiver is authorized to negotiate and effect an orderly sale, transfer, use, or
                 assignment of all or a portion of any of the Property in or outside of the ordinary
                 course of business of the Receivership Defendants and, from the proceeds thereof,
                 to pay the secured and unsecured indebtedness of the Property, including the Real
                 Property. Payments to creditors by the Receiver shall include trade indebtedness
                 which arises during the course of the Receiver’s operation of the Property, which
                 shall be paid first from the sale proceeds, together with the fees and expenses of the
                 Receiver and his attorneys, accountants, and other professionals. The Receiver is
                 authorized to conduct such a sale of the Property in any manner which he, in his
                 good faith and reasonable discretion, believes will maximize the proceeds received
                 from the sale.…

 See Receiver Order, ¶ 2(k).

 Further, paragraphs 12(v) and (w) authorized the Receiver to retain a broker to market or sell the

 Receivership Property and to employ such person or entities as may be necessary to accomplish

 the Receiver’s duties.

          5.     Further, it is well-established, “[a] judge who finds it necessary to appoint a

 Receiver should see that the entity, and therefore assets, are liquidated as economically and




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 speedily as possibly unless its continuance is demonstrated to be beneficial to the creditors.

 Jones v. Proctorville (1961 C.A. 6, Ohio) 290 F. 2d 49.

        6.      Pursuant to this Court’s Order Granting Motion of Receiver, Jerry E. Peer, Jr., To

 Employ Serhant and Marco Tiné as Real Estate Broker, filed November 17, 2023 [Doc. # 189]

 (“Sale Order”), Receiver engaged Serhant and Marco Tiné (collectively “Broker”), pursuant to the

 terms and conditions of the Exclusive Right of Sale Listing Agreement (“Listing Agreement”)

 approved by the Sale Order, to list the Property. The Motion to Employ Serhant and Marco Tiné

 and the Sale Order was timely served on all parties to this action.

        7.      From January 6, 2024, through January 12, 2024, the Receiver and Broker offered

 the Property for private sale by and through Broker. As a result, there were five showings,

 numerous other inquiries, with a result of two offers.

        8.      Through the efforts of Receiver and Broker, Antonio Hidalgo and Gisella Rivera

 (collectively “Buyer”) has been identified as a potential purchaser for the Property. The Receiver

 and Buyer have engaged in arm’s length and good faith negotiations regarding the sale of the

 Property. As a result of these negotiations, Receiver and Buyer have entered into the “AS-IS:

 Residential Contract For Sale and Purchase (“Purchase Agreement,”) attached hereto as “Exhibit

 A,” being contingent upon the approval of this Court.

        9.      By this Motion, Receiver seeks this Court’s approval of the Purchase Agreement,

 to sell the Property free and clear of any and all interests, liens, claims, and encumbrances, as

 well as any right of redemption, with the interests, liens, claims, and encumbrances attaching to

 the net proceeds of sale, which shall be disbursed to the secured creditor(s) holding valid and

 existing liens, in order of their respective priorities. Apart from the Treasurer of Dade County,

 Florida, to whom the real estate taxes will be paid at closing, the only secured creditor is Miami




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 555, LLC, whose interests, mortgages, fixture filings, and assignments of leases and rents—the

 Mortgages, with respect to the Real Estate are set forth in the Complaint and the Receiver Order,

 or have otherwise been identified in these proceedings.

         10.     The Receiver in his business judgment has determined, based upon the

 circumstances that a sale of Property, pursuant to the terms of the Purchase Agreement, is in the

 best interest of the creditors of the receivership estate

         11.     The Receiver requests that any order approving the sale of the Property include

 findings of the Court that the purchase of the property is commercially reasonable, has been

 negotiated in good faith and that the offer of Buyer is fair and reasonable and represents the highest

 and best offer under the circumstances.

         12.     Any person or entity asserting an ownership interest in the Property or any creditor

 of Defendant that believes that it has a lien on the Property, which has priority over the mortgages

 and security interests of Miami 555, LLC other than the Dade County Treasurer, must file an

 objection to this Motion within the time established by this Court.

         13.     In light of the fact that it is the duty of the Receiver to act for the benefit of all

 creditors, Receiver requests that the Property be sold pursuant to the terms of the Purchase

 Agreement. Receiver believes that a sale of the Property at this time is in the best interests of the

 receivership estate. Receiver believes and represents that this sale is commercially reasonable.

 Receiver further offers that this private sale is the most efficient and economical means to dispose

 of the Property.

 III.    DISTRIBUTION OF SALE PROCEEDS

         14.     After receipt of all credits provided for under the Purchase Agreement, proceeds of

 the sale paid at closing shall be distributed in accordance at Closing and/or by Receiver as follows:

                 14.01 First, to the Clerk of Courts to pay any outstanding court costs;


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                14.02 Second, to pay outstanding real property taxes and assessments pro-rated
                      through the date of the Closing, if any, or as otherwise provided in the
                      Purchase Contract;

                14.03 Third, to pay all closing costs attributable to the Receiver as Seller;

                14.04 Fourth, if deemed necessary by Receiver, an amount to be determined by
                      Receiver as sufficient to cover existing and future anticipated administrative
                      expenses, including Receiver and counsel to Receiver fees and expenses
                      (“Receiver Holdback”), which shall be held by Receiver to cover the costs
                      of the Receivership estate. Any amount remaining over and above the
                      Receiver Holdback shall be distributed pursuant to subsections 14.05-14.06
                      below.

                14.05 Fifth, to Miami 555, LLC in satisfaction of its note and mortgage against
                      the Property.

                14.06 Sixth, once all administrative fees and expenses have been paid and a
                      sufficient Receiver Holdback determined, the remaining proceeds held by
                      Receiver pending further order of this Court.

        Receiver respectfully requests expedited briefing as to this motion.

        WHEREFORE, the Receiver respectfully requests that the Court enter an order: (i)

 authorizing the Receiver to sell the Property free and clear of any and all liens, claims,

 encumbrances, and other interests with said liens, claims, encumbrances, and other interests

 attaching to the net proceeds of sale; (ii) approving the Purchase Agreement; (iii) granting the

 Receiver authority to distribute the sale proceeds as stated in Paragraph 14 of this Motion; and (iv)

 granting such other and further relief as the Court deems appropriate pursuant to applicable law or

 in equity.

                                               Respectfully submitted,

                                               PETERSON CONNERS LLP


                                                /s/ Istvan Gajary                        .
                                               GREGORY S. PETERSON (0061915)
                                               JERRY E. PEER, JR. (0075128)
                                               ISTVAN GAJARY (0089084)
                                               545 Metro Place South, Suite 435



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                                              Telephone: (614) 365-7000
                                              Facsimile: (614) 220-0197
                                              E-mail: gpeterson@petersonconners.com
                                                      jpeer@petersonconners.com
                                                      igajary@petersonconners.com
                                              Counsel for Receiver, Jerry E. Peer, Jr.




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was filed electronically on

 this 19th day of January 2024 with the Clerk of Court using the CM/ECF system. Service will be

 made through the Court’s CM/ECF system on all parties and attorneys so registered, and all parties

 may access this filing through the Court’s system.

        A copy was also sent by regular U.S.P.S. mail to the following:




  BRINSON CALEB SILVER                                  COLLATERAL DAMAGE, LLC
  BUTLER COUNTY JAIL                                    c/o BRINSON CALEB SILVER
  Inmate No. 303850                                     BUTLER COUNTY JAIL
  705 Hanover Street                                    Inmate No. 303850
  Hamilton, Ohio 45011                                  705 Hanover Street
                                                        Hamilton, Ohio 45011


  ECLIPSE HOME DESIGN, LLC                              Paige McDaniel
  c/o BRINSON CALEB SILVER                              5576 Alexanders Lake Rd.
  BUTLER COUNTY JAIL                                    Stockbridge, Georgia 30281
  Inmate No. 303850
  705 Hanover Street
  Hamilton, Ohio 45011


                                               /s/ Istvan Gajary
                                              GREGORY S. PETERSON (0061915)
                                              JERRY E. PEER, JR. (0075128)
                                              ISTVAN GAJARY (0089084)



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              "AS IS,' Residential Contract For Sale And Purchase                                                                           l\41r\ N,l I
              THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR

    1.        PARTIES:                                                    Eclipse Home Design LLC                            ("Seller"),
              and                                                  Antonio Hidalgo & Gisella Rivera                          ("Buyer"),
    3         agree that Seller shall sell and Buyer shall buy the following described Real Property and Personal Property
    4         (collectively "Property") pursuant to the terms and conditions of this AS lS Residential Contract For Sale And Purchase
    5         and any riders and addenda ("Contract"):
    6         1. PROPERTY DESCRIPTION:
    7-             (a) Street address, city,         zip:            9125 N Bayshore Dr, MiamiShores, FL 33138
    8-             (b) Located             ;p'
                                       Miami-Dade      County, Florida. Property Tax lD            4'   11-32-05-001-0590
    9.             (c) Real Property: The legal description is WATERSEDGE PB 9-'141 LOT C LESS W25FT and LESS 512.5FT
   10                   LOT S|ZE 50.000 X167 0R 15973-3580 15991-2804 0693 1 COC 24849-15320420061
   11

   12                      together with all existing improvements and fixtures, including built-in appliances, built-in furnishings and
   '13                     attached wallto-wall carpeting and flooring ("Real Property") unless specifically excluded in Paragraph 1(e) or
   14                      by other terms of this Contract.
   15                (d) Personal Property: Unless excluded in Paragraph 1(e) or by otherterms of this Contract, the following items
   16                      which are owned by Seller and existing on the Property as of the date of the initial offer are included in the
   17                      purchase: range(s)/oven(s), refrigerato(s), dishwashe(s), disposal, ceiling fan(s), light fixture(s), drapery rods
   18                      and draperies, blinds, window treatments, smoke detector(s), garage door opener(s), thermostat(s),
   19                      doorbell(s), television wall mount(s) and television mounting hardware, security gate and other access
  20                       devices, mailbox keys, and storm shutters/storm protection items and hardware ("Personal Property").
  21.                      Other Personal Property items included in this purchase are:
  22                                                                          /
  23                     Personal Property is included in the Purchase Price, has no contributory value, and shall be left for the Buyer.
   24-               (e) The following items are excluded from the purchase:
   25


   26.

   27-                                                                                                                                    3,700,000.00
   28-               (a) lnitial deposit to be held in escrow in the amotrnt of (checks subject to Collection) .......                     185,000.00
   29                      The initial deposlt made payable and delivered to "Escrow Agent" named below
   30.                     (CHECK ONE): (i)      !accompanies offer or (ii) E is to be made r";15;n    (if left3
                           blank, then 3) days after Effective Date. lF NEITHER BOX lS CHECKED, THEN
   cl                      oPTroN (ii) SHALL BE DEEMED SELECTED.
   33.                                                                       Alex Sirulnik PA
   34-                     Address:        2199 P                                              Phone: 305-443-7211
                           E-mail:                                                                      Fax:
   JO                (b)AdditionaldeposittobedeliveredtoEscrowAgentwithin-(ifleftblank,then10)
   37"                   days after Etfective Date       ...........                                         ....................$         185,000.00
   38                    (All deposlts paid or agreed to be paid, are collectively referred to as the "Deposit")
   39.               (c) Financing: Express as a dollar amount or percentage ("Loan Amount") see Paragraph 8 .........
   40*               (d) Other:
   41                (e) Balance to close (not including Buyer's closing costs, prepaids and prorations) by wire
   42-              transfer or other Collected funds (see STANDARD                   S)................                      ....... $   3,330,000.00
   43         3. TIME FOR ACCEPTANCE OF OFFER AND COUNTER-OFFERS; EFFECTIVE DATE:
   44
   45.
                     ' ' lf not signed by Buyer and Seller, and an executed copy delivered to all parties on or before
                     (a)
                              Janiary 11,'2024' , this offer shall be deemed withdrawn and the Deposit, if ahy, shall be returned to
   46                      @ed,timeforacceptanceofanycounter-offersshallbewithin2daysaftertheday
   47                      the counter-offer is delivered.
   48                (b) The effective date of this Contract shall be the date when the last one of the Buyer and Seller has signed or
   49                      initialed and delivered this offer or final counter-offer ("Effective Date").
   50         4. GLOSING; CLOSING DATE: The closing of this transaction shall occur when all funds required for closing are
   51                received by Closing Agent and Collected pursuant to STANDARD S and all closing docume                                 uired to be
   52                                                                                                                                      'ovisions of

              Buyer's lnitials
              FloridaRealtors/FloridaBar-ASl$6x Rev.7/23 A 2023 Florida Realtors@ and The Florida Bar. All rights reserved.
         Serial#: 035529-3001 XX-XXXXXXX
                                                                                                                                             Form
                                                                                                        Exhibit A                            Simplicity
uuuuotgil EItvtrtuPtr tu. aJUoYEZJ-UJoJ-+JZl-oE tu-yhfu/u       I ttruutr
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                         this Contract, the Closing shall occur on    or before 30 business days       ("Closing Date"), at the time
   54                established by the Closing Agent.
                  5. EXTENSION OF CLOSING DATE:
   56                (a) ln the event Closing funds from Buye/s lende(s) are not available on Closing Date due to Consumer Financial
   57                          Protection Bureau Closing Disclosure delivery requirements ("CFPB Requirements"), if Paragraph 8(b) is
   58                          checked, Loan Approval has been obtained, and lender's undenivriting is complete, then Closing Date shall be
                               extended for such period necessary to satisfy CFPB Requirements, provided such period shall not exceed 7
   60                          days.
       61                (b) lf an event constituting "Force Majeure" causes services essential for Closing to be unavailable, including the
       62                unavailability of utilities or issuance of hazard, wind, flood or homeowners' insurance, Closing Date shall be
       63                extended as provided in STANDARD G.
   64             6. OCCUPANCY AND POSSESSION:
   65                (a) Unless Paragraph 6(b) is checked, Seller shall, at Closing, deliver occupancy and possession of the Property
   66                          to Buyer free of tenants, occupants and future tenancies. Also, at Closing, Seller shall have removed all
   67                        personal items and trash from the Property and shall deliver all keys, garage door openers, access devices and
   68.                       codes, as applicable, to Buyer. lf occupancy is to be delivered before Closing, Buyer assumes all risks of loss
   69                        to the Propefi from date of occupancy, shall be responsible and liable for maintenance from that date, and
   70                        shall have accepted the Property in its existing condition as of time of taking occupancy, see Rider T PRE-
   71                        CLOSING OCCUPANCY BY BUYER.
   72.                  (b)    I CHECK IF PROPERTY IS SUBJECT TO LEASE(S) OR OCCUPANCY AFTER CLOSING. If PTOPETIY iS
   73                        subject to a lease(s) or any occupancy agreements (including seasonal and shortterm vacation rentals) after
   74                        Closing or is intended to be rented or occupied by third parties beyond Closing, the facts and terms thereof
   75                        shall be disclosed in writing by Seller to Buyer and copies of the written lease(s) shall be delivered to Buyer, all
   76                       within 5 days after Effective Date. lf Buyer determines, in Buyer's sole discretion, that the lease(s) or terms of
   77.                       occupancy are not acceptable to Buyer, Buyer may terminate this Contract by delivery of written notice of such
   78.                       election to Seller within 5 days after receipt of the above items from Seller, and Buyer shall be refunded the
   79                        Deposit thereby releasing Buyer and Seller from all further obligations under this Contract. Estoppel Lette(s)
       80                    and Seller's affidavit shall be provided pursuant to STANDARD D, except that tenant Estoppel Letters shall not
       81                    be re(uired on seasonal or shortterm vacation rentals. lf Property is intended to be occupied by Seller after
       82                    Closing, see Rider U POST-CLOSING OCCUPANCY BY SELLER.
       83-        7.    ASSIGNABILITY: (CHECK ONE): Buyer                   !
                                                                          may assign and thereby be released from any further liability under
       84.              this Contract;         tr
                                           may assign but not be released from liability under this Contract; or  !may not assign this Contract.
       85               IF NO BOX IS CHECKED, THEN BUYER MAY NOT ASSIGN THIS CONTRACT.
       86                                                                       tlNANclNG
       87         B. FINANcING'
       88.
                        E (a)This is a cash transaction with no financing contingency.
       89-
                        tr (b) This Contract is contingent upon, within _         (if left blank, then 30) days after Effective Date ("Loan
       90.              Approval Period"): (1) Buyer obtaining approval of a Econventional E f Hn E Vn or E other
       91-              (describe) mortgage loan for purchase of the Property for a (GHEGK ONE): !fixed, Eadjustable, Efixed or
       92               adjustable rate in the Loan Amount (See Paragraph 2(c)), at an initial interest rate not to     exceed             % (if left
       oa

       94
                        blank, then prevailing rate based upon Buyer's creditworthiness), and for a term of        _       (if left blank, then 30)
                        years ("Financing"); and (2) Buyer's mortgage broker or lender having received an appraisal or alternative valuation
       OE
                        of the Property satisfactory to lender, if either is required by lender, which is sufficient to meet the terms required
       96               for lender to provide Financing for Buyer and proceed to Closing ("Appraisal").
       97-                    (i) Buyer shall make application for Financing    within          (if left blank, then 5) days after Etfective Date
       98               and use good faith and diligent effort to obtain approval of a loan meeting the Financing and Appraisal terms of
       oo               Paragraph 8(bX1) and (2), above, ("Loan Approval") within the Loan Approval Period and, thereafter, to close this
  100                   Contract. Loan Approval which requires Buyer to sell other real property shall not be considered Loan Approval
  101                   unless Rider V is attached.
  102                   Buyer's failure to use good faith and diligent effort to obtain Loan Approval during the Loan Approval Period shall
  '1
       03               be considered a default under the terms of this Contract. For purposes of this provision, "diligent effort" includes,
  104                   but is not limited to, timely furnishing all documents and information required by Buyer's mortgage broker and lender
  105                   and paying for Appraisal and other fees and charges in connection with Buyer's application for Financing.
  106                         (ii) Buyer shall, upon written request, keep Seller and Broker fully informed about the              of Buyer's
  107                   mortgage loan application, loan processing, appraisal, and Loan Approval, including any Property
  108                                                                                                                               ch status



             Serial#: 035629-3001 XX-XXXXXXX

                                                                                                                                          Simplicity
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  109                   and progress and release preliminary and finally executed closing disclosures and settlement statements, as
  110                   appropriate and allowed, to Seller and Broker.
  111                         (iii) lf withln the Loan Approval Period, Buyer obtains Loan Approval, Buyer shall notify Seller of same in writing
  I tl                  prior to expiration of the Loan Approval Period; or, if Buyer is unable to obtain Loan Approval within Loan Approval
  113                   Period but Buyer is satisfied with Buye/s ability to obtain Loan Approval and proceed to Closing, Buyer shall deliver
  114                   written notice to Seller confirming same, prior to the expiration of the Loan Approval Period.
  115                        (iv) lf Buyer is unable to obtain Loan Approval within the Loan Approval Period, or cannot timely meet the
 116                    terms of Loan Approval, all after the exercise of good faith and diligent effort, Buyer may terminate this Contract by
  117                   delivering written notice of termination to Seller prior to expiration of the Loan Approval Period;'whereupon, provided
  118                   Buyer is not in default under the terms of this Contract, Buyer shall be refunded the Deposit thereby releasing Buyer
      '1e
 1                      and Seller from all further obligations under this Contract.
  120                        (v) lf Buyer fails to timely deliver any written notice provided for in Paragraph 8(b)(iii) or (iv), above, to Seller
 121                    prior to expiration of the Loan Approval Period, then Buyer shall proceed fonrvard with this Contract as though
 122                    Paragraph 8(a), above, had been checked as of the Effective Date; provided, however, Seller may elect to terminate
 123                    this Contract by delivering written notice of termination to Buyer within 3 days after expiration of the Loan Approval
 124                    Period and, provided Buyer is not in default under the terms of this Contract, Buyer shall be refunded the Deposit
 125                    thereby releasing Buyer and Seller from all further obligations under this Contract.
 126                         (vi) lf Buyer has timely provided either written notice provided for in Paragraph 8b(iii), above, and Buyer
 127                    thereafter fails to close this Contract, the Deposit shall be paid to Seller unless failure to close is due to: (1) Seller's
  128                   default or inability to satisfy other contingencies of this Contract; or (2) Property related conditions of the Loan
  129                   Approval (specifically excluding the Appraisal valuation) have not been met unless such conditions are waived by
 130                    other provisions of this Contract; in which event(s) the Buyer shall be refunded the Deposit, thereby releasing Buyer
 131                    and Seller from all further obligations under this Contract.
  132"
                        !(c)Assumption of existing mortgage (see Rider D for terms).
  tJo
                        [  (d) Purchase money note and mortgage to Seller (see Rider C for terms).

  134                                                         CLOSING COSTS, FEES AND CHARGES
  tJc             9. CLOSING GOSTS; TITLE INSURANCE; SURVEY; HOME WARRANTY; SPECIAL ASSESSMENTS:
  136                   (a) COSTS TO BE PAID BY SELLER:
  137                    . Documentary stamp taxes and surtax on deed, if any                           . HOA/Condominium Association estoppel fees
  tJo                       . Owner's Policy and Charges (if Paragraph 9(cXi) is checked)               . Recording and other fees needed to cure title
  I ao                      . Title search charges (if Paragraph 9(c)(iii) is checked)                  . Seller's attorneys' fees
  140"                   . Municipal lien search (if Paragraph g(cXi) or (iii) is checked)              . Other:
  141                    . Charges for FIRPTA withholding and reporting
  142                        lf, prior to Closing, Seller is unable to meet the AS lS Maintenance Requirement as required by Paragraph 11
  143                       a sum equal to 125% ol estimated costs to meet the AS lS Maintenance Requirement shall be escrowed at
  144                       Closing. lf actual costs to meet the AS lS Maintenance Requirement exceed escrowed amount, Seller shall pay
  145                       such actual costs. Any unused portion of escrowed amount(s) shall be returned to Seller.
  146                   (b) cosTs To BE PArD BY BUYER:
  147                    . Taxes and recording fees on notes and         mortgages            . Loan expenses
  148                    . Recording fees for deed and financing        statements            . Appraisal fees
  149                    . Owner's Policy and Charges (if Paragraph g(c)(ii) is checked) . Buyer's lnspections
  150                    . Survey (and elevation certification, if
                         . Lender's title policy and endorsements
                                                                       required)              . Buyer's attorneys' fees
  151                                                                                         . All property related insurance
  152                    . HOA/Condomin iu m Association appl ication/transfer fees           . Owner's Policy Premium (if Paragraph
  153                    . Municipal lien search (if Paragraph g(c)(ii) is checked)             I (cXiii) is checked.)
  154-
                            'Other:
  1   55-                (c) TITLE EVIDENCE AND INSURANCE: At least_                    (if left blank, then 15, or if Paragraph 8(a) is checked,
  tco                          then 5) days prior to Closing Date ("Title Evidence Deadline"), a title insurance commitment issued by a Florida
  157                          licensed title insurer, with legible copies of instruments listed as exceptions attached thereto ("Title
  158                          Commitment") and, after Closing, an owner's policy of title insurance (see STANDARD A for terms) shall be
  159                          obtained and delivered to Buyer. lf Seller has an owner's policy of title insurance covering the Real Property,
  160                          Seller shall furnish a copy to Buyer and Closing Agent within 5 days after Effective Date. The owner's title policy
  161                          premium, title search and closing services (collectively, "Owner's Policy and Charges") shall be paid, as set
  162                          forth below. The title insurance premium charges for the owner's policy and any lender's policy will be calculated
  103                          and allocated in accordance with Florida law, but may be reported differently on certain              ly mandated
  164                                                                                                                                          means a

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                                                                              Page 3 of 13                               Seller's
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  165       search of records necessary for the owner's policy of title insurance to be issued without exception for unrecorded
  166       liens imposed pursuant to Chapters 153, 159 or 170, F.S., in favor of any governmental body, authority or agency.
  167       (CHEGK ONE):
  168.      f,  (i) Seller shall designate Closing Agent and pay for Owner's Policy and Charges, and Buyer shall pay the
  16e       premium for Buyer's lender's policy and charges for closing services related to the lender's policy,
  170       endorsements and loan closing, which amounts shall be paid by Buyer to Closing Agent or such other
  171       provider(s) as Buyer may select; or
  172.      ! (ii) Buyer shall designate Closing Agent and pay for Owner's Policy and Charges and charges for closing
  173       services related to Buyer's lender's policy, endorsements and loan closing; or
  174.      E (iii) [MIAMI-DADE/BROWARD REGIONAL PROVISION]: Buyer shall designate Closing Agent. Seller shall
  175       furnish a copy of a prior owner's policy of title insurance or other evidence of title and pay fees for: (A) a
  176       continuation or update of such title evidence, which is acceptable to Buyer's title insurance undenvriter for
  172       reissue of coverage; (B) tax search; and (C) municipal lien search. Buyer shall obtain and pay for postClosing
  1zs       continuation and premium for Buyer's owner's policy, and if applicable, Buyer's lender's policy. Seller shall not
  17g-beob|igatedtopaymorethan$-(ifleftblank,then$200.00)forabstractcontinuationortitle
  'r80      search ordered or performed by Closing Agent.
  181 (d) SURVEY: At least 5 days prior to Closing Date, Buyer may, at Buyer's expense, have the Real Property
  1s2       surveyed and certified by a registered Florida surveyor ("Survey"). lf Seller has a survey covering the Real
  183       Property, a copy shall be furnished to Buyer and Closing Agent within 5 days after Effective Date.
  184* (e) HOME WARRANTY: At Closing,EBuyerEselterEuln shall pay for a home warranty plan issued by
  185-                                                                   at a cost not to exceed $_.                    A home
  186       warranty plan provides for repair or replacement of many of a home's mechanical systems and major built-in
  187       appliances in the event of breakdown due to normalwear and tear during the agreement's warranty period.
  188 (0 SPECIAL ASSESSMENTS: At Closing, Seller shall pay: (i) the full amount of liens imposed by a public body
  18e       ("public body" does not include a Condominium or Homeowner's Association) that are certified, confirmed and
  1e0       ratified before Closing; and (ii) the amount of the public body's most recent estimate or assessment for an
  rs1       improvement which is substantially complete as of Effective Date, but that has not resulted in a lien being
  1e2       imposed on the Property before Closing. Buyer shall pay all other assessments. lf special assessments may
  1e3       be paid in installments (CHECK ONE):
  1e4*      tr (a) Seller shall pay installments due prior to Closing and Buyer shall pay installments due after Closing.
  1e5       lnstallments prepaid or due for the year of Closing shall be prorated.
  1e6.      tr (b) Seller shall pay, in full, prior to or at the time of Closing, any assessment(s) allowed by the public body
  1s7       to be prepaid. For any assessment(s) which the public body does not allow prepayment, OPTION (a) shall be
  1e8       deemed selected for such assessment(s).
  1ee       lF NEITHER BOX lS CHECKED, THEN OPTION (a)SHALL BE DEEMED SELECTED.
  200       This Paragraph 9(f) shall not apply to a special benefit tax lien imposed by a community development district
  201       (CDD) pursuant to Chapter 190, F.S., or special assessment(s) imposed by a special district pursuant to
  202       Chapter'189, F.S., which lien(s) or assessment(s) shall be prorated pursuant to STANDARD K.
  203                                                        DlscLosuRES
  zo4 10. DISCLOSURES:
  205             (a) RADON GAS: Radon is a naturally occurring radioactive gas that, when it is accumulated in a building in
  206                 sufficient quantities, may present health risks to persons who are exposed to it over time. Levels of radon that
  207                 exceed federal and state guidelines have been found in buildings in Florida. Additional information regarding
  2oB                 radon and radon testing may be obtained from your county health department.
  2oe             (b) PERMITS DISGLOSURE: Except as may have been disclosed by Seller to Buyer in a written disclosure, Seller
  210                 does not know of any improvements made to the Property which were made without required permits or made
  2i1                 pursuant to permits which have not been properly closed or otherwise disposed of pursuant to Section 553.79,
  212                 F.S. lf Seller identifies permits which have not been closed or improvements which were not permitted, then
  213                 Seller shall promptly deliver to Buyer all plans, written documentation or other information in Seller's possession,
  214                 knowledge, or control relating to improvements to the Property which are the subject of such open permits or
  21s                 unpermitted improvements.
  216             (c) MOLD: Mold is naturally occurring and may cause health risks or damage to property. lf Buyer is concerned or
  217                 desires additional information regarding mold, Buyer should contact an appropriate professional.
  218             (d) FLOOD ZONE; ELEVATION CERTIFICATION: Buyer is advised to verify by elevation certificate which flood
  21e                 zone the Property is in, whether flood insurance is required by Buyer's lender, and what restrictions apply to
  220                 '- r- -:-^B the
                      imprgylBg   -'--__o-dr- 'r and
                                       Property  --'-- rebuilding in the event of casualty. lf Property is in a "Special FlofldFa<.ard Area"
                               r"'                      --'


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                                                                            page 4 of   13                             Seller's
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  221                   or "Coastal Barrier Resources Act" designated area or othenrvise protected area identified by the U.S. Fish and
  222                   Wildlife Service under the Coastal Barrier Resources Act and the lowest floor elevation for the building(s) and/or
  223                   flood insurance rating purposes is below minimum flood elevation or is ineligible for flood insurance coverage
  224                   through the National Flood lnsurance Program or private flood insurance as defined in 42 U.S.C. $4012a, Buyer
  225-                  may terminate this Contract by delivering written notice to Seller within       (if left blank, then 20) days after
                        Effective Date, and Buyer shall be refunded the Deposit thereby releasing Buyer and Seller from all further
  227                   obligations under this Contract, failing which Buyer accepts existing elevation of buildings and flood zone
                                                                                                                   -
  228                   designation of Property.
  229               (e) ENERGY BROCHURE: Buyer acknowledges receipt of Florida Energy-Efficiency Rating lnformation Brochure
  230                   required by Section 553.996, F.S.
  ZJI               (D LEAD-BASED PAINT: lf Property includes pre-1978 residential housing, a lead-based paint disclosure is
  ZJI                      mandatory.
                    (g) HOMEOWNERS' ASSOCIATION/COMMUNITY DISCLOSURE: BUYER SHOULD NOT EXECUTE THIS
  234                      CONTRACT UNTIL BUYER HAS RECEIVED AND READ THE HOMEOWNERS'
  235                    ASSOCIATION/COMMUNITY DISCLOSURE, IF APPLICABLE.
  230                (h) PROPERTY TAX DISCLOSURE SUMMARY: BUYER SHOULD NOT RELY ON THE SELLER.S CURRENT
  237                    PROPERTY TAXES AS THE AMOUNT OF PROPERTY TAXES THAT THE BUYER MAY BE OBLIGATED TO
  238                    PAY IN THE YEAR SUBSEQUENT TO PURCHASE. A CHANGE OF OWNERSHIP OR PROPERTY
  239                    IMPROVEMENTS TRIGGERS REASSESSMENTS OF THE PROPERTY THAT COULD RESULT IN HIGHER
  240                    PROPERTY TAXES. IF YOU HAVE ANY QUESTIONS CONCERNING VALUATION, CONTACT THE
  241                    COUNTY PROPERTY APPRAISER'S OFFICE FOR INFORMATION.
  242                (i) FOREIGN INVESTMENT lN REAL PROPERTY TAX ACT ("F!RPTA"): Seller shall inform Buyer in writing if
  243                    Seller is a "foreign person" as defined by the Foreign lnvestment in Real Property Tax Act ("F|RPTA"). Buyer
  244                    and Seller shall comply with FIRPTA, which may require Seller to provide additional cash at Closing. lf Seller
  245                    is not a "foreign person", Seller can provide Buyer, at or prior to Closing, a certification of non-foreign status,
                         under penalties of perjury, to inform Buyer and Closing Agent that no withholding is required. See STANDARD
  247                    V for further information pertaining to FIRPTA. Buyer and Seller are advised to seek legal counsel and tax
  248                    advice regarding their respective rights, obligations, reporting and withholding requirements pursuant to
  249                      FIRPTA.
  250                (j) SELLER DISCLOSURE: Seller knows of no facts materially affecting the value of the Real Property which are
  zcl                      not readily observable and which have not been disclosed to Buyer. Except as provided for in the preceding
  252                      sentence, Seller extends and intends no warranty and makes no representation of any type, either express or
  253                      implied, as to the physical condition or history of the Property. Except as othenruise disclosed in writing Seller
  254                      has received no written or verbal notice from any governmental entity or agency as to a currently uncorrected
  255                      building, environmental or safety code violation.
  256                                       PROPERTY MAINTENANCE, CONDITION, INSPECTIONS AND EXAMINATIONS
  257         11. PROPERTY MAINTENANCE: Except for ordinary wear and tear and Casualty Loss, Seller shall maintain the
  258             Property, including, but not limited to, lawn, shrubbery, and pool, in the condition existing as of Effective Date ("AS
  ,AO
                  lS Maintenance Requirement"). See Paragraph 9(a)for escrow procedures, if applicable.

               12. PROPERTY INSPECTION; RIGHT TO CANCEL:
  261.             (a) PROPERTY TNSPECr/ONS AND RIGHT TO CANCEL: Buyer shall have 5 fif teft blank, then 15)
  262                  days after Effective Date ("lnspection Period") within which to have such inspections of the Property
  263                  performed as Buyer shall desire during the lnspection Period. lf Buyer determines, in Buyer's sole
  264                  discretion, that the Propefty is not acceptable to Buyer, Buyer may terminate this Contract by delivering
  265                  written notice of such election to Seller prior to expiration of lnspection Period. lf Buyer timely
  266                  terminates this Contract, the Deposit paid shall be returned to Buyer, thereupon, Buyer and Seller shall
  267                  be released of all further obligations under this Contract; however, Buyer shall be responsible for
  268                  prompt payment for such inspections, for repair of damage to, and restoration of, the Property resulting
                       from such inspections, and shall provide Seller with paid receipts for all work done on the Property (the
  270                  preceding provision shall survive termination of this Contract). Unless Buyer exercises the right to
  271                  terminate granted herein, Buyer accepts the physical condition of the Properiy and any violation of
  272                  governmental, building, environmental, and safety codes, restrictions, or requirements, but subject to
  273                  Se//er's continuing AS ,S Maintenance Requirement, and Buyer shall be responsible for any and all
  274                  repairs and improvements required by Buyer's lender.

                                   (-o"

              Buyer's lnitials
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  275                (b) WALK-THROUGH INSPECTION/RE-INSPECTION: On the day prior to Closing Date, or on Closing Date prior
  276                    to time of Closing, as specified by Buyer, Buyer or Buyer's representative may perform a walkthrough (and
  277                    follow-up walkthrough, if necessary) inspection of the Property solely to confirm that all items of Personal
  278                    Property are on the Property and to verify that Seller has maintained the Property as required by the AS lS
  279                    Maintenance Requirement and has met all other contractual obligations.
  280                (c) SELLER ASSISTANCE AND COOPERATION lN CLOSE-OUT OF BUILDING PERMITS: lf Buyer's inspection
  26 l                   of the Property identifies open or needed building permits, then Seller shall promptly deliver to Buyer all plans,
  242                    written documentation or other information in Seller's possession, knowledge, or control relating to
  26J                    improvements to the Property which are the subject of such open or needed permits, and shall promptly
  284                    cooperate in good faith with Buyer's efforts to obtain estimates of repairs or other work necessary to resolve
  285                    such permit issues. Seller's obligation to cooperate shall include Seller's execution of necessary authorizations,
  zoo                    consents, or other documents necessary for Buyer to conduct inspections and have estimates of such repairs
  287                    or work prepared, but in fulfilling such obligation, Seller shall not be required to expend, or become obligated to
  288                    expend, any money.
  289                (d) ASSIGNMENT OF REPAIR AND TREATMENT CONTRACTS AND WARRANTIES: At Buyer's option and
  290                    cost, Seller will, at Closing, assign all assignable repair, treatment and maintenance contracts and warranties
  291                    to Buyer.
  292                                                              ESCROW AGENT AND BROKER

  ,oa         13. ESCROW AGENT: Any Closing Agent or Escrow Agent (collectively "Agent") receiving the Deposit, other funds
  294             and other items is authorized, and agrees by acceptance of them, to deposit them promptly, hold same in escrow
  295             within the State of Florida and, subject to Collection, disburse them in accordance with terms and conditions of
  296             this Contract. Failure of funds to become Collected shall not excuse Buyer's performance. When conflicting
  297             demands for the Deposit are received, or Agent has a good faith doubt as to entitlement to the Deposit, Agent may
  298             take such actions permitted by this Paragraph 13, as Agent deems advisable. lf in doubt as to Agent's duties or
  299             liabilities under this Contract, Agent may, at Agent's option, continue to hold the subject matter of the escrow until
  300             the parties agree to its disbursement or until a final judgment of a court of competent jurisdiction shall determine
  301             the rights of the parties, or Agent may deposit same with the clerk of the circuit court having jurisdiction of the
  302             dispute. An attorney who represents a party and also acts as Agent may represent such party in such action. Upon
  303             notifying all parties concerned of such action, all liability on the part of Agent shall fully terminate, except to the
  304             extent of accounting for any items previously delivered out of escrow. lf a licensed real estate broker, Agent will
  305             comply with provisions of Chapter 475, F.S., as amended and FREC rules to timely resolve escrow disputes through
  306              mediation, arbitration, interpleader or an escrow disbursement order.
  307              ln any proceeding between Buyer and Seller wherein Agent is made a party because of acting as Agent hereunder,
  308              or in any proceeding where Agent interpleads the subject matter of the escrow, Agent shall recover reasonable
  309              attorney's fees and costs incurred, to be paid pursuant to court order out of the escrowed funds or equivalent. Agent
  310              shall not be liable to any party or person for mis-delivery of any escrowed items, unless such mis-delivery is due to
  311              Agent's willful breach of this Contract or Agent's gross negligence. This Paragraph 13 shall survive Closing or
  312              termination of this Contract.
  313          14. PROFESSIONAL ADVICE; BROKER LIABILITY: Broker advises Buyer and Seller to verify Property condition,
  314              square footage, and all other facts and representations made pursuant to this Contract and to consult appropriate
  315              professionals for legal, tax, environmental, and other specialized advice concerning matters affecting the Property
  Jto              and the transaction contemplated by this Contract. Broker represents to Buyer that Broker does not reside on the
  317              Property and that all representations (oral, written or otheruvise) by Broker are based on Seller representations or
  318                public records. BUYER AGREES TO RELY SOLELY ON SELLER, PROFESSIONAL INSPECTORS AND
 319                 GOVERNMENTAL AGENCIES FOR VERIFICATION OF PROPERTY CONDITION, SQUARE FOOTAGE AND
 320                 FACTS THAT MATERIALLY AFFECT PROPERTY VALUE AND NOT ON THE REPRESENTATIONS (ORAL,
 321                 WRITTEN OR OTHERWISE) OF BROKER. Buyer and Seller (individually, the "lndemnifying Party") each
 322                 individually indemnifies, holds harmless, and releases Broker and Broker's officers, directors, agents and
                     employees from all liability for loss or damage, including all costs and expenses, and reasonable attorney's fees at
  JZ4                all levels, suffered or incurred by Broker and Broker's officers, directors, agents and employees in connection with
  325                or arising from claims, demands or causes of action instituted by Buyer or Seller based on: (i) inaccuracy of
  JZO                information provided by the lndemnifying Party or from public records; (ii) lndemnifying Party's misstatement(s) or
  5l/                failure to perform contractual obligations; (iii) Brokels performance, at lndemnifying Party's request, of any task
  J26                beyond the scope of services regulated by Chapter 475, F.S., as amended, including Broker's referral,
  329                recommendation or retention of any vendor for, or on behalf of, lndemnifying Party; (iv) products or services
                                                     for, or on behalf of, lndemnifying Party; and (v) expenses                     vendor,

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 331                Buyer and Seller each assumes full responsibility for selecting and compensating their respective vendors and
 332                paying their other costs under this Contract whether or not this transaction closes. This Paragraph 14 will not relieve
 333                Broker of statutory obligations under Chapter 475, F,S., as amended. For purposes of this Paragraph 14, Broker
 334                will be treated as a party to this Contract. This Paragraph 14 shallsurvive Closing ortermination of this Contract.
 335                                                        DEFAULT AND DISPUTE RESOLUTION
              15. DEFAULT:
  JJ/             (a) BUYER DEFAULT: lf Buyer fails, neglects or refuses to perform Buyer's obligations under this Contract,
  338                 including payment of the Deposit, within the time(s) specified, Seller may elect to recover and retain the Deposit
  339                 for the account of Seller as agreed upon liquidated damages, consideration for execution of this Contract, and
  340                 in full settlement of any claims, whereupon Buyer and Seller shall be relieved from all further obligations under
  341
                      this Contract, or Seller, at Seller's option, may, pursuant to Paragraph 16, proceed in equity to enforce Seller's
                      rights under this Contract. The portion of the Deposit, if any, paid to Listing Broker upon default by Buyer, shall
  343                   be split equally between Listing Broker and Cooperating Broker; provided however, Cooperating Broker's share
  344
                        shall not be greater than the commission amount Listing Broker had agreed to pay to Cooperating Broker.
  345               (b) SELLER DEFAULT: lf for any reason other than failure of Seller to make Seller's title marketable after
  346
                        reasonable diligent effort, Seller fails, neglects or refuses to perform Seller's obligations under this Contract,
  JCI
                        Buyer may elect to receive return of Buyer's Deposit without thereby waiving any action for damages resulting
  348
                        from Seller's breach, and, pursuant to Paragraph 16, may seek to recover such damages or seek specific
  349                   performance.
  350
                    This Paragraph 15 shall survive Closing or termination of this Contract.
  351         16. DISPUTE RESOLUTION: Unresolved controversies, claims and other matters in question between Buyer and
                  Seller arising out of, or relating to, this Contract or its breach, enforcement or interpretation ("Dispute") will be settled
                    as follows:
  354               (a) Buyer and Seller will have 10 days after the date conflicting demands for the Deposit are made to attempt to
  355                   resolve such Dispute, failing which, Buyer and Seller shall submit such Dispute to mediation under Paragraph
  356                      16(b).
  357               (b) Buyer and Seller shall attempt to settle Disputes in an amicable manner through mediation pursuant to Florida
                           Rules for Certified and Court-Appointed Mediators and Chapter 44, F.S., as amended (the "Mediation Rules").
  359                      The mediator must be certified or must have experience in the real estate industry. lnjunctive relief may be
  360                      sought without first complying with this Paragraph 16(b). Disputes not settled pursuant to this Paragraph 16
  cot                      may be resolved by instituting action in the appropriate court having jurisdiction of the matter. This Paragraph
  501                      16 shall survive Closing or termination of this Contract.
  363         17. ATTORNEY'S FEES; COSTS: The parties will split equally any mediation fee incurred in any mediation permitted
  364             by this Contract, and each party will pay their own costs, expenses and fees, including attorney's fees, incurred in
  Jbc             conducting the mediation. ln any litigation permitted by this Contract, the prevailing party shall be entitled to recover
  JOO             from the non-prevailing party costs and fees, including reasonable attorney's fees, incurred in conducting the
  JO/             litigation. This Paragraph 17 shall survive Closing or termination of this Contract.
  368                                      STANDARDS FOR REAL ESTATE TRANSACTIONS ("STANDARDS")
              18. STANDARDS:
  370               A. TITLE:
  371               (i) TITLE EVIDENGE; RESTRICTIONS; EASEMENTS; LIMITATIONS: Within the time period provided in
  372               Paragraph 9(c), the Title Commitment, with legible copies of instruments listed as exceptions attached thereto, shall
                    be issued and delivered to Buyer. The Title Commitment shall set forth those matters to be discharged by Seller at
  374               or before Closing and shall provide that, upon recording of the deed to Buyer, an owner's policy of title insurance
  375               in the amount of the Purchase Price, shall be issued to Buyer insuring Buyer's marketable title to the Real Property,
  376               subject only to the following matters: (a) comprehensive land use plans, zoning, and other land use restrictions,
  377               prohibitions and requirements imposed by governmental authority; (b) restrictions and matters appearing on the
  378               Plat or othenivise common to the subdivision; (c) outstanding oil, gas and mineral rights of record without right of
  379               entry; (d) unplatted public utility easements of record (located contiguous to real property lines and not more than
  380               10 feet in width as to rear or front lines and 7 l12feet in width as to side lines); (e) taxes for year of Closing and
  381               subsequent years; and (f) assumed mortgages and purchase money mortgages, if any (if additional items, attach
  coz               addendum); provided, that, none prevent use of Property for RESIDENTIAL PURPOSES. lf there exists at Closing
  383               any violation of items identified in (b)- (f) above, then the same shall be deemed a title defect. Marketable title shall
  384               be determined according to applicable Title Standards adopted by authority of The Florida Bar and in accordance
  385               with law.-o,
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                                                                          Page 7 of 13                              Seller's lnitials
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                                       STANDARDS FOR REAL ESTATE TRANSACTTONS ("STANDARDS") CONTTNUED

  386                (ii) TITLE EXAMINATION: Buyer shall have 5 days after receipt of Title Commitment to examine it and notify Seller
  387               in writing specifying defect(s), if any, that render title unmarketable. lf Seller provides Title Commitment and it is
  388               delivered to Buyer less than 5 days prior to Closing Date, Buyer may extend Closing for up to 5 days after date of
  389               receipt to examine same in accordance with this STANDARD A, Seller shall have 30 days ("Cure Period") after
  390               receipt of Buye/s notice to take reasonable diligent efforts to remove defects, lf Buyer fails to so notify Seller, Buyer
  391               shall be deemed to have accepted title as it then is. lf Seller cures defects within Cure Period, Seller will deliver
  ?o,
                    written notice to Buyer (with proof of cure acceptable to Buyer and Buyer's attorney) and the parties will close this
 393                Contract on Closing Date (or if Closing Date has passed, within 10 days after Buyer's receipt of Seller's notice). lf
  394               Seller is unable to cure defects within Cure Period, then Buyer may, within 5 days after expiration of Cure Period,
  395               deliver written notice to Seller: (a) extending Cure Period for a specified period not to exceed 120 days within which
  396               Seller shall continue to use reasonable diligent effort to remove or cure the defects ("Extended Cure Period"); or
  397               (b) electing to accept title with existing defects and close this Contract on Closing Date (or if Closing Date has
  398               passed, within the earlier of 10 days after end of Extended Cure Period or Buyer's receipt of Selle/s notice), or (c)
 399                electing to terminate this Contract and receive a refund of the Deposit, thereby releasing Buyer and Seller from all
 400                further obligations under this Contract. lf after reasonable diligent effort, Seller is unable to timely cure defects, and
  401               Buyer does not waive the defects, this Contract shall terminate, and Buyer shall receive a refund of the Deposit,
  402               thereby releasing Buyer and Seller from all further obligations under this Contract.
 403                B. SURVEY: lf Survey discloses encroachments on the Real Property or that improvements located thereon
  404               encroach on setback lines, easements, or lands of others, or violate any restrictions, covenants, or applicable
 405                governmental regulations described in STANDARD A (i)(a), (b) or (d) above, Buyer shall deliver written notice of
 406                such matters, together with a copy of Survey, to Seller within 5 days after Buyer's receipt of Survey, but no later
 407                than Closing. lf Buyer timely delivers such notice and Survey to Seller, such matters identified in the notice and
 408                Survey shall constitute a title defect, subject to cure obligations of STANDARD A above, lf Seller has delivered a
 409                prior survey, Seller shall, at Buyer's request, execute an affidavit of "no change" to the Real Property since the
  410               preparation of such prior survey, to the extent the affirmations therein are true and correct.
  411               C. INGRESS AND EGRESS: Seller represents that there is ingress and egress to the Real Property and title to
 412                the Real Property is insurable in accordance with STANDARD A without exception for lack of legal right of access.
  413               D. LEASE INFORMATION: Seller shall, at least 10 days prior to Closing, furnish to Buyer estoppel letters from
  414               tenant(s)/occupant(s) specifying nature and duration of occupancy, rental rates, advanced rent and security
  415               deposits paid by tenant(s) or occupant(s)("Estoppel Lette(s)"). lf Seller is unable to obtain such Estoppel Lette(s)
  416               the same information shall be furnished by Seller to Buyer within that time period in the form of a Seller's affidavit
  417               and Buyer may thereafter contact tenant(s) or occupant(s) to confirm such information. lf Estoppel Lette(s) or
  418               Seller's affidavit, if any, differ materially from Seller's representations and lease(s) provided pursuant to Paragraph
  419               6, or if tenant(s)/occupant(s) fail or refuse to confirm Seller's affidavit, Buyer may deliver written notice to Seller
  420               within 5 days after receipt of such information, but no later than 5 days prior to Closing Date, terminating this
  421               Contract and receive a refund of the Deposit, thereby releasing Buyer and Seller from all further obligations under
  422               this Contract. Seller shall, at Closing, deliver and assign all leases to Buyerwho shall assume Seller's obligations
  423               thereunder.
  424               E.    LIENS: Seller shall furnish to Buyer at Closing an affidavit attesting (i) to the absence of any financing
  425               statement, claims of lien or potential lienors known to Seller and (ii) that there have been no improvements or
  426               repairs to the Real Property for 90 days immediately preceding Closing Date. lf the Real Property has been
  427               improved or repaired within that time, Seller shall deliver releases or waivers of construction liens executed by all
  424               general contractors, subcontractors, suppliers and materialmen in addition to Seller's lien affidavit setting forth
  429               names of all such general contractors, subcontractors, suppliers and materialmen, further affirming that all charges
  430               for improvements or repairs which could serve as a basis for a construction lien or a claim for damages have been
  431               paid orwill be paid at Closing.
  432               F. TIME: Time is of the essence in this Contract. Calendar days, based on where the Property is located, shall
  433               be used in computing time periods. Other than time for acceptance and Effective Date as set forth in Paragraph 3,
  434               any time periods provided for or dates specified in this Contract, whether preprinted, handwritten, typewritten or
  435               inserted herein, which shall end or occur on a Saturday, Sunday, national legal public holiday (as defined in 5
  436               U.S.C. Sec. 6103(a)), or a day on which a national legal public holiday is observed because it fell on a Saturday or
  437               Sunday, shall extend to the next calendar day which is not a Saturday, Sunday, national legal public holiday, or a
  438               day on which a national legal public holiday is observed.
  439               G. FORCE MAJEURE: Buyer or Seller shall not be required to exercise or perform any right or obligation under
  440               this Contract or be liable to each other for damages so long as performance or non-performance of the right or
  441                                                                                                                              , delayed,




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                                      STANDARDS FOR REAL ESTATE TRANSACTTONS ("STANDARDS") CONTTNUED
  442              caused or prevented by a Force Majeure event. "Force Majeure" means: hurricanes, floods, extreme weather,
  443              earthquakes, fires, or other acts of God, unusual transportation delays, wars, insurrections, civil unrest, or acts of
  444
                   terrorism, governmental actions and mandates, government shut downs, epidemics, or pandemics, which, by
  445              exercise of reasonable diligent effort, the non-performing party is unable in whole or in part to prevent or overcome.
  446              The Force Majeure event will be deemed to have begun on the first day the effect of the Force Majeure prevents
  447              performance, non-performance, or the availability of services, insurance or required approvals essential to Closing.
  448              All time periods affected by the Force Majeure event, including Closing Date, will be extended a reasonable time
  449              up to 7 days after the Force Majeure event no longer prevents performance under this Contract; provided, however,
  450              if such Force Majeure event continues to prevent performance under this Contract more than 30 days beyond
  451              Closing Date, then either party may terminate this Contract by delivering written notice to the other and the Deposit
  452              shall be refunded to Buyer, thereby releasing Buyer and Seller from all further obligations under this Contract.
  453              H. CONVEYANCE: Seller shall convey marketable title to the Real Property by statutory warranty, trustee's,
  454              personal representative's, or guardian's deed, as appropriate to the status of Seller, subject only to matters
  455              described in STANDARD A and those accepted by Buyer. Personal Property shall, at request of Buyer, be
  45b              transferred by absolute bill of sale with warranty of title, subject only to such matters as may be provided for in this
  457               Contract.
  458               l. CLOSINGLOCATION; DOCUMENTS;ANDPROCEDURE:
  459               (i) LOCATION: Closing will be conducted by the attorney or other closing agent ("Closing Agent") designated by
  460               the party paying for the owner's policy of title insurance and will take place in the county where the Real Property
  461               is located at the office of the Closing Agent, or at such other location agreed to by the parties. lf there is no title
  462               insurance, Seller will designate Closing Agent. Closing may be conducted by mail, overnight courier, or electronic
  463               means.
  464               (ii) CLOSING DOCUMENTS: Seller shall at or prior to Closing, execute and deliver, as applicable, deed, bill of
  465               sale, certificate(s) of title or other documents necessary to transfer title to the Property, construction lien affidavit(s),
  466               owner's possession and no lien affidavit(s), and assignment(s) of leases. Seller shall provide Buyer with paid
  467               receipts for all work done on the Property pursuant to this Contract. Buyer shall furnish and pay for, as applicable,
  468               the survey, flood elevation certification, and documents required by Buyer's lender.
  469               (iii) FinCEN GTO REPORTING OBLIGATION. lf Closing Agent is required to comply with a U.S. Treasury
  470               Department's Financial Crimes Enforcement Network ("FinCEN") Geographic Targeting Order ("GTO"), then Buyer
  471               shall provide Closing Agent with essential information and documentation related to Buyer and its Beneficial
  472               Owners, including photo identification, and related to the transaction contemplated by this Contract which are
  473               required to complete mandatory reporting, including the Currency Transaction Report; and Buyer consents to
  474               Closing Agent's collection and report of said information to lRS.
  475               (iv) PROCEDURE: The deed shall be recorded upon Collection of all closing funds. lf the Title Commitment
  476               provides insurance against adverse matters pursuant to Section 627.7841, F.S., as amended, the escrow closing
  477               procedure required by STANDARD J shall be waived, and Closing Agent shall, subject to Collection of all closing
  478               funds, disburse at Closing the brokerage fees to Broker and the net sale proceeds to Seller,
  479               J.    ESCROW CLOSING PROCEDURE: lf Title Commitment issued pursuant to Paragraph 9(c) does not provide
  480               for insurance against adverse matters as permitted under Section 627.7841, F.S., as amended, the following
  481               escrow and closing procedures shall apply: (1) all Closing proceeds shall be held in escrow by the Closing Agent
  482               for a period of not more than 10 days after Closing; (2) if Seller's title is rendered unmarketable, through no fault of
  483               Buyer, Buyer shall, within the 10 day period, notify Seller in writing of the defect and Seller shall have 30 days from
  484               date of receipt of such notification to cure the defect; (3) if Seller fails to timely cure the defect, the Deposit and all
  485               Closing funds paid by Buyer shall, within 5 days after written demand by Buyer, be refunded to Buyer and,
  486               simultaneously with such repayment, Buyer shall return the Personal Property, vacate the Real Property and re-
  487               convey the Property to Seller by special warranty deed and bill of sale; and (4) if Buyer fails to make timely demand
  488               for refund of the Deposit, Buyer shall take title as is, waiving all rights against Seller as to any intervening defect
  489               except as may be available to Buyer by virtue of warranties contained in the deed or bill of sale.
  490               K. PRORATIONS; CREDITS: The following recurring items will be made current (if applicable) and prorated as of
  491               the day prior to Closing Date, or date of occupancy if occupancy occurs before Closing Date: real estate taxes
  492               (including special benefit tax assessments imposed by a CDD pursuant to Chapter 190, F.S., and assessments
  493               imposed by special district(s) pursuant to Chapter 189, F.S.), interest, bonds, association fees, insurance, rents
  494               and other expenses of Property. Buyer shall have option of taking over existing policies of insurance, if assumable,
  495               in which event premiums shall be prorated. Cash at Closing shall be increased or decreased as may be required
  496               by prorations to be made through day prior to Closing. Advance rent and security deposits, if any, will be credited
  497               to Buyer. Escrow deposits held by Seller's mortgagee will be paid to Seller. Taxes shall be                     based on
  498               current         tax. ll3tssing occurs on a date when current year's millage is not fixed but curn
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                        lnitialsf-  f---                                 page 9 of 13                               Selleas lnitiats
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                                      STANDARDS FOR REAL ESTATE TRANSAGTIONS (''STANDARDS'') CONTINUED

  499               is available, taxes will be prorated based upon such assessment and prior year's millage. lf current year's
  500
                    assessment is not available, then taxes will be prorated on prior year's tax. lf there are completed improvements
  501
                    on the Real Property by January 1st of year of Closing, which improvements were not in existence on January 1't
  502
                    of prior year, then taxes shall be prorated based upon prior year's millage and at an equitable assessment to be
                    agreed upon between the parties, failing which, request shall be made to the County Property Appraiser for an
  504               informal assessment taking into account available exemptions. ln all cases, due allowance shall be made for the
  505               maximum allowable discounts and applicable homestead and other exemptions. A tax proration based on an
  506               estimate shall, at either party's request, be readjusted upon receipt of current year's tax bill. This STANDARD K
  507               shall survive Closing.
  508               L. ACCESS TO PROPERTY TO CONDUCT APPRAISALS, INSPECTIONS, AND WALK.THROUGH: SeIIET
  509               shall, upon reasonable notice, provide utilities service and access to Property for appraisals and inspections,
  510               including a walk-through (or follow-up walkthrough if necessary) prior to Closing.
  511               M. RISK OF LOSS: lf, after Effective Date, but before Closing, Property is damaged by fire or other casualty
                    ("Casualty Loss") and cost of restoration (which shall include cost of pruning or removing damaged trees) does not
  513               exceed 1.5o/o of Purchase Price, cost of restoration shall be an obligation of Seller and Closing shall proceed
  514               pursuant to terms of this Contract. lf restoration is not completed as of Closing, a sum equal to 125o/o ol estimated
  515               cost to complete restoration (not to exceed 1.5o/o ol Purchase Price) will be escrowed at Closing. lf actual cost of
  516               restoration exceeds escrowed amount, Seller shall pay such actual costs (but, not in excess of 1.5% of Purchase
  517               Price). Any unused portion of escrowed amountshall be returned to Seller. lf costof restoration exceeds 1.5o/oof
  518               Purchase Price, Buyershallelectto eithertake Property "as is" togetherwith the 1.5o/o,or receive a refund of the
  519               Deposit thereby releasing Buyer and Seller from all further obligations under this Contract. Seller's sole obligation
  520               with respect to tree damage by casualty or other natural occurrence shall be cost of pruning or removal.
  521               N. 1031 EXGHANGE: lf either Seller or Buyer wish to enter into a like-kind exchange (either simultaneously with
  522               Closing or deferred) under Section 1031 of the lnternal Revenue Code ("Exchange"), the other party shall cooperate
  523               in all reasonable respects to effectuate the Exchange, including execution of documents; provided, however,
  524               cooperating party shall incur no liability or expense related to the Exchange, and Closing shall not be contingent
  525               upon, nor extended or delayed by, such Exchange.
  526               O. CONTRACT NOT RECORDABLE; PERSONS BOUND; NOTICE; DELIVERY; COPIES; CONTRACT
  527               EXECUTION: Neither this Contract nor any notice of it shall be recorded in any public or official records. This
  528               Contract shall be binding on, and inure to the benefit of, the parties and their respective heirs or successors in
  529               interest. Whenever the context permits, singular shall include plural and one gender shall include all. Notice and
  530               delivery given by or to the attorney or broker (including such broker's real estate licensee) representing any party
  531               shall be as effective as if given by or to that party. All notices must be in writing and may only be made by mail,
  532               facsimile transmission, personal delivery or email. A facsimlle or electronic copy of this Contract and any signatures
                    hereon shall be considered for all purposes as an original. This Contract may be executed by use of electronic
  534               signatures, as determined by Florida's Electronic Signature Act and other applicable laws.
                    P. INTEGRATION; MODIFIGATION: This Contract contains the full and complete understanding and agreement
  536               of Buyer and Seller with respect to the transaction contemplated by this Contract and no prior agreements or
  537               representations shall be binding upon Buyer or Seller unless included in this Contract. No modification to or change
  538               in this Contract shall be valid or binding upon Buyer or Seller unless in writing and executed by the parties intended
  539               to be bound by it,
  540               A.    WAIVER: Failure of Buyer or Seller to insist on compliance with, or strict performance of, any provision of this
  541               Contract, or to take advantage of any right under this Contract, shall not constitute a waiver of other provisions or
  542               rights.
  543               R. RIDERS;ADDENDA;TYPEWRITTEN OR HANDWRITTEN PROVISIONS: Riders, addenda, and typewritten
  544               or handwritten provisions shall control all printed provisions of this Contract in conflict with them.
  545               S. COLLECTION or COLLECTED: "Collection" or "Collected" means any checks tendered or received, including
  546               Deposits, have become actually and finally collected and deposited in the account of Escrow Agent or Closing
  547               Agent. Closing and disbursement of funds and delivery of closing documents may be delayed by Closing Agent
  548               until such amounts have been Collected in Closing Agent's accounts.
  549               T. RESERVED.
  550               U. APPLICABLE LAW AND VENUE: This Contract shall be construed in accordance with the laws of the State
  551               of Florida and venue for resolution of all disputes, whether by mediation, arbitration or litigation, shall lie in the
                    county where the Real Property is located.
                    V. FIRPTA TAX WITHHOLDING: lf a seller of U.S. real property is a "foreign person" as defined by FIRPTA,
  554               Section 1445 of the lnternal Revenue Code ("Code") requires the buyer of the real property to wi             up to 15%
                                                                                                                                   Service

             Buyer's lnitials                                              Page 10 of '13                             Seller's
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                             STANDARDS FOR REAL ESTATE TRANSACTIONS ("STANDARDS") CONTINUED

  556          (lRS) unless an exemption to the required withholding applies or the seller has obtained a Withholding Certificate
  557          from the IRS authorizing a reduced amount of withholding.
 558 (i) No withholding is required under Section 1445 ol the Code if the Seller is not a "foreign person". Seller can
 55e           provide proof of non-foreign status to Buyer by delivery of written certification signed under penalties of perjury,
  560          stating that Seller is not a foreign person and containing Seller's name, U.S. taxpayer identification number and
  561          home address (or office address, in the case of an entity), as provided for in 26 CFR 1 .1445-2(b). Othenrvise, Buyer
  562          shall withhold the applicable percentage of the amount realized by Seller on the transfer and timely remit said funds
  s63          to the lRS.
  564          (ii) lf Seller is a foreign person and has received a Withholding Certificate from the IRS which provides for reduced
  56s          or eliminated withholding in this transaction and provides same to Buyer by Closing, then Buyer shall withhold the
  566          reduced sum required, if any, and timely remit said funds to the lRS.
  567          (iii) lf prior to Closing Seller has submitted a completed application to the IRS for a Withholding Certificate and has
  568          provided to Buyer the notice required by 26 CFR 1.1445-1(c) (2X|XB) but no Withholding Certificate has been
  b6e          received as of Closing, Buyer shall, at Closing, withhold the applicable percentage of the amount realized by Seller
  570          on the transfer and, at Buyer's option, either (a) timely remit the withheld funds to the IRS or (b) place the funds in
  st1          escrow, at Seller's expense, with an escrow agent selected by Buyer and pursuant to terms negotiated by the
  sz2          parties, to be subsequently disbursed in accordance with the Withholding Certificate issued by the IRS or remitted
  s7s          directly to the IRS if the Selle/s application is rejected or upon terms set forth in the escrow agreement.
  s74          (iv) ln the event the net proceeds due Seller are not sufficient to meet the withholding requirement(s) in this
  s7s          transaction, Seller shall deliver to Buyer, at Closing, the additional Collected funds necessary to satisfy the
  s76          applicable requirement and thereafter Buyer shall timely remit said funds to the IRS or escrow the funds for
  s77          disbursement in accordance with the final determination of the lRS, as applicable.
  s7s          (v) Upon remitting funds to the IRS pursuant to this STANDARD, Buyer shall provide Seller copies of IRS Forms
  s7s          8288 and 8288-4, as filed.
  s8o          W. RESERVED
  sB1          X. BUYER WAIVER OF CLAIMS: To the extent permitted by law, Buyer waives any claims against Se//er
  sB2          and against any real esfate /icensee involved in the negotiation of this Contract for any damage or defects
  s83          pertaining to the physical condition of the Property that may exist at Closing of this Contract and be
  s84          subseguently discovered by the Buyer or anyone claiming by, through, under or against the Buyer. Ihis
  585          provision does not relieve Se//erb obligation to comply with Paragraph 100. This Standard X shallsurvive
  586          Closing.

  587                                                    ADDENDA AND ADDITIONAL TERMS

  588. '19. ADDENDA: The following additional terms are included in the attached addenda or riders and incorporated into this
  58e          Contract (Check if applicable):
            trA Condominium Rider tr M. Defective Drywall                 Ex Kick-out Clause
            IB. Seller
                Homeowners'Assn. tr N. Coastal Construction Control
                       Financing                                          Ev Seller's Attorney Approval
            TC,                           Line                            llz uyer's  Attorney Approval               B
            ID Mortgage   Assumption  tro lnsulation Disclosure           Enn Licensee Property lnterest
            trE FHA /A Financing      IP Lead Paint Disclosure (Pre-1978) Esn Binding Arbitration
            trF Appraisal Contingency
            EG Short Sale
                                                       Io
                                          Housing for Older Persons
                                                       []R Rezoning
                                                                                                             Ecc          Miami-Dade County
                                                                                                                          Special Taxing District
            EH. Homeowners/Flood lns.                  ES       Lease Purchase/ Lease Option                 Ioo          SeasonalA/acation Rentals
            trt      RESERVED                          Er       Pre-Closing Occupancy                        ETE          PACE Disclosure
            ft J.    nterest-Bearing Acct.
                     I
                                                       EU       Post-Closing Occupancy                       ! otl.rer:
            Ex       RESERVED                          Llv      Sale of Buyer's Property
            trr-     RESERVED                          Ew       Back-up Contract




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                 Case: 2:23-cv-00512-SDM-EPD Doc #: 220 Filed: 01/19/24 Page: 19 of 22 PAGEID #: 2245
 seo" 20. ADDITIONAL TERMS: Buyer ls also acting as Real Estate Agent in this transaccion.
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 608                                                                            COUNTER-OFFER

  609*
                     ! Seller counters Buyer's offer.

  610                                                [The remainder of this page is intentionally left blank.
  61 1                                              This Gontract continues with line 612 on Page 13 of f 3.1




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               Buyer's lnitials                                                 Page 12 of 13                             Seller's lnitials
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                 Case: 2:23-cv-00512-SDM-EPD Doc #: 220 Filed: 01/19/24 Page: 20 of 22 PAGEID #: 2246
  612             THIS IS INTENDED TO BE A LEGALLY BINDING CONTRACT. IF NOT FULLY UNDERSTOOD, SEEK THE
  olJ               ADVICE OF AN ATTORNEY PRIOR TO SIGNING.

  614               THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR.

  615               Approval of this form by the Ftorida Rea/fors and The Ftorida Bar does not constitute an opinion that any of the
  o to              teims and conditions in this Contract should be accepted by the parties in a pafticular transaction. Terms and
  ol/               conditions shoutd be negotiated based upon the respective interests, objectives and bargaining positions of all
  618               interested persons.

  019               AN ASTERTSK (-) FOLLOWTNG A L|NE NUMBER tN THE MARGIN INDICATES THE LINE CONTAINS A BLANK
  620               TO BE COMPLETED.

  ozl                                                             ATTENTION: SELLER AND BUYER
  622                CONVEYANCES TO FOREIGN BUYERS: Part lll of Chapter 692, Sections 692.201 - 692.205, Florida Statutes,
  623                2023 (the "Act"), in part, limits and regulates the sale, purchase and ownership of certain Florida properties by
  624                                                                             of concern", namely: the Peoplels Republic of China, the
                     certain buyers rirno are associated with a "foreign country'Democratic
  625                Russian Federation, the lslamic Republic of lian, the                   People's Republic of Korea, the Republic of
  ozo                Cuba, the Venezuelan regime of Nicbldrs Maduro, or the Syrian      Arab  Republic. It is a crime to buy or knowingly
                     sell property in  violation  of the Act.
  628                At time of purchase, Buyer must provide a signed Affidavit which complies with the requirements of the
  629                Act. Seller ind Buyerare-advised to seek legal counsel regarding their respective obligations and liabilities under
  630                the Act.

                                                                                                                                            L/t2/2024
  63'1.                            Asd|a Kwvo"                                                                                      Date:
                                                                                                                                              1-/L2/20
                     Buyel                                                                                                          Date:

  633-                               0E9E383E836049C .                          >--#                                                Date:

  634.               Seller:                                                                                                        Date:
                                                                                                                  ,-*
  635                Buyer's address for purposes of notice                                         r's          for purposes of notice
  636.               1006 NE 97 St                                                            11 11 Lincoln Rd Miami Beach Fl 33139
  637.
  oJo


  639                BROKER: Listing and Cooperating Brokers, if any, named below (collectively, "Broker"), are the only Brokers
   640               entitled to compensation in connection with this Contract. lnstruction to Closing Agent: Seller and Buyer direct
   641               Closing Agent to disburse at Closing the full amount of the brokerage fees as specified in separate brokerage
   642               agreemen[s with the parties and cooperative agreements between the Brokers, except to the extent Broker has
   o4J                retained such fees from the escrowed funds. This Contract shall not modify any MLS or other offer of compensation
   644                made by Seller or Listing Broker to Cooperating Brokers.

   645-                                Gisella Rivera                                                                Marco Tine
   o40                Cooperating Sales Associate, if any                                         Listing Sales Associate

   a47.                                     Florida Realty of Miami Corp                                                     Serhant
   648                Cooperating Broker, if any                                                  Listing Broker




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           ADDENDUM TO “AS IS” RESIDENTIAL CONTRACT FOR SALE AND PURCHASE

         This Addendum to Contract for Sale and Purchase (this “Addendum”) is made as of this __ day of
 January, 2024, by and between Eclipse Home Design LLC (the “Seller”), and Antonio Hidalgo and Giselle
 Rivera ("Buyer"). Buyer and Seller shall be collectively referred to as the “Parties.”

                                                RECITALS

        A.       WHEREAS, Buyer and Seller entered into that certain “As-Is” Contract for Sale and
 Purchase for the sale of the property located at 9125 N. Bayshore Drive, Miami Shores, Florida 33138 (the
 “Property”) on January 12, 2024 (including any and all amendments or addenda thereto, the “Agreement”);
 and

         B.        WHEREAS, the Parties desire to amend the Agreement in certain respects as more
 particularly set forth below.

         NOW, THEREFORE, in consideration of the execution and delivery of this Addendum, and other
 good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
 hereby agree as follows:

         1.      Recitals; Defined Terms; Conflicts. The foregoing recitals are true and correct and are
 incorporated herein as if repeated at length. Unless the context otherwise requires, all initial capitalized
 terms used but not defined in this Addendum shall have the meaning or meanings given to such terms in
 the Agreement. This Addendum shall be deemed a part of, but shall take precedence over and supersede
 any provisions to the contrary contained in the Agreement. All references to the Agreement or this
 Addendum shall be deemed to refer to the Agreement as modified by this Addendum, unless the context
 otherwise requires.

       2.       Escrow Agent. The Parties hereby agree that the Escrow Agent in Section 2(a) of the
 Agreement is revised to:

         Aspuru Caraballo Faria P.A.
         135 San Lorenzo Avenue, Suite 850
         Coral Gables, Florida 33146
         786.901.8755
         afaria@acf-law.com

         3.      Counterparts. The Parties acknowledge and agree that this Addendum may be executed
 in multiple counterparts, and transmitted via facsimile, each such counterpart (whether transmitted via
 facsimile or otherwise), when executed, shall constitute an integral part of one and the same document
 between the Parties.

         4.     Modification; Survival. Except as expressly modified by this Addendum, the provisions of
 the Agreement are hereby expressly ratified and confirmed. This Addendum shall survive closing.

         EXECUTED as of the date and year first written above.


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                                              BUYER:
    SELLER:

                                               +
    Eclipse Home Design LLC
                                              Antonio Hidalgo

    By:____________________
    Name: Jerry E. Peer, Jr.
                                              Giselle Rivera
    Title: Receiver




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